                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE



 UNITED STATES OF AMERICA                          )
                                                   )
                                                   )
                                                   )       No. 3:97-CR-64-018
 V.                                                )       (JORDAN/SHIRLEY)
                                                   )
                                                   )
                                                   )
 RICHARD WITT                                      )


                         ORDER OF TEMPORARY DETENTION
                          PENDING REVOCATION HEARING

               This matter came before the undersigned for an initial appearance on a Petition

 for Warrant for Offender Under Supervision on August 18, 2005. Steve Cook, Assistant

 United States Attorney, was present representing the government and A. Philip Lomonaco

 was present representing the defendant. The defendant was also present.

               Upon motion of the government, and pursuant to 18 U.S.C. § 3583 and FRCrP

 32.1(6), the defendant shall be detained pending a preliminary hearing and a revocation

 hearing. Counsel for the defendant stated to the Court that the defendant wished to waive

 a detention hearing at this time but reserve the right to a hearing later, if appropriate. The

 defendant understands he will remain in custody pending his preliminary and revocation

 hearing and agrees to the waiver.

               The defendant shall appear before the undersigned for a preliminary hearing

 on Monday, August 22, 2005, at 11:00 a.m., and a revocation hearing before the Honorable


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 Leon Jordan on August 22, 2005, at 1:15 p.m. The defendant shall be held in custody by

 the United States Marshal until that time and produced for the above scheduled hearing.



                     IT IS SO ORDERED.

                                   ENTER:


                                            s/ C. Clifford Shirley, Jr.
                                          United States Magistrate Judge




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